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13   Assets, LLC; CMGI Recorded Music Assets LLC; Sony Music Entertainment; and Arista
     Music
14
                                  UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16
                                     SAN FRANCISCO DIVISION
17

18                                    )
     UMG RECORDINGS, INC., CAPITOL    ) Case No.: 3:23-cv-06522-MMC
19                                    )
     RECORDS, LLC, CONCORD BICYCLE
20   ASSETS, LLC, CMGI RECORDED MUSIC )
     ASSETS LLC, SONY MUSIC           ) Stipulation and Proposed Order to Extend
                                      ) Stay of Proceedings
21   ENTERTAINMENT, and ARISTA MUSIC )
                                      )
22               Plaintiff(s),        )
                                      )
23        vs.                         )
                                      )
24   INTERNET ARCHIVE, BREWSTER       )
     KAHLE, KAHLE/AUSTIN FOUNDATION, )
25   GEORGE BLOOD, and GEORGE BLOOD, )
     L.P.                             )
26                                    )
                                      )
27               Defendant(s).        )
28                                      1
      Stip. and Prop. Order to                                        Case No.: 3:23-cv-06522-MMC
      Ext. Stay of Proceedings
            Case 3:23-cv-06522-MMC            Document 169         Filed 04/30/25       Page 2 of 5



 1           Pursuant to Civil Local Rule 6-1(b) and Section 7 of the Court’s Standing Orders, Plaintiffs

 2   UMG Recordings, Inc., Capitol Records, LLC, Concord Bicycle Assets, LLC, CMGI Recorded

 3   Music Assets LLC, Sony Music Entertainment, and Arista Music (“collectively, “Plaintiffs”) and

 4   Defendants Internet Archive, Brewster Kahle, the Kahle/Austin Foundation, George Blood, and

 5   George Blood LP (collectively, “Defendants”) (Plaintiffs and Defendants shall collectively be

 6   referred to as the “Parties”), hereby stipulate as follows:

 7           WHEREAS, on April 4, 2025, the Court granted the Parties’ first stipulation to stay the

 8   case for thirty days, ECF No. 168, and that stay is set to expire on May 5, 2025;

 9           WHEREAS, the Parties have continued to engage in and make meaningful progress in

10   settlement discussions and believe a thirty (30) day extension of the current stay will facilitate

11   resolution of this matter;

12           WHEREAS, the Parties remain optimistic that these discussions may result in a resolution

13   that would allow for the case to be dismissed;

14           WHEREAS, in the event that settlement discussions do not result in a resolution, the Parties

15   agree to confer and submit a proposed schedule to the Court to reset case deadlines;

16           NOW, THEREFORE, the Parties hereby stipulate and respectfully request the Court to

17   order as follows:

18           1. All proceedings and deadlines in this case shall be stayed through and including June

19               4, 2025 to allow the Parties to continue their settlement discussions.

20           2. If the settlement discussions result in a resolution, the Parties will promptly file an
21               appropriate dismissal with the Court.
22           3. If the settlement discussions are not successful, the Parties shall meet and confer to
23               propose a new schedule for the case and submit a joint proposed scheduling order to
24               the Court within ten (10) days following the expiration of the stay.
25

26   IT IS SO STIPULATED.

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28                                                     2
      Stip. and Prop. Order to                                               Case No.: 3:23-cv-06522-MMC
      Ext. Stay of Proceedings
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 1   Dated: April 30, 2025

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19   Capital Records, LLC; Concord Bicycle Assets,
     LLC; CMGI Recorded Music Assets LLC; Sony
20   Music Entertainment; and Arista Music
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      Stip. and Prop. Order to                                            Case No.: 3:23-cv-06522-MMC
      Ext. Stay of Proceedings
            Case 3:23-cv-06522-MMC           Document 169         Filed 04/30/25      Page 4 of 5



 1                                    SIGNATURE ATTESTATION

 2           Pursuant to Civ. L.R. 5.1, I hereby attest that I have obtained the concurrence in the filing

 3   of this document from all the signatories for whom a signature is indicated by a “conformed”

 4   signature (/s/) within this e-filed document and I have on file records to support this concurrence

 5   for subsequent production for the Court if so ordered for inspection upon request.

 6

 7    Dated: April 30, 2025                               OPPENHEIM + ZEBRAK, LLP
                                                          /s/Matthew J. Oppenheim
 8                                                        Matthew J. Oppenheim
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      Stip. and Prop. Order to                                               Case No.: 3:23-cv-06522-MMC
      Ext. Stay of Proceedings
            Case 3:23-cv-06522-MMC           Document 169         Filed 04/30/25      Page 5 of 5



 1                                UNITED STATES DISTRICT COURT

 2                               NORTHERN DISTRICT OF CALIFORNIA

 3                                    SAN FRANCISCO DIVISION

 4
                                      )
 5   UMG RECORDINGS, INC., CAPITOL    ) Case No.: 3:23-cv-06522-MMC
     RECORDS, LLC, CONCORD BICYCLE    )
 6   ASSETS, LLC, CMGI RECORDED MUSIC )
     ASSETS LLC, SONY MUSIC           ) [Proposed] Order to Extend Stay of
 7                                    ) Proceedings
     ENTERTAINMENT, and ARISTA MUSIC )
 8                                    )
                 Plaintiff(s),        )
 9                                    )
          vs.                         )
10                                    )
     INTERNET ARCHIVE, BREWSTER       )
11   KAHLE, KAHLE/AUSTIN FOUNDATION, )
     GEORGE BLOOD, and GEORGE BLOOD, )
12   L.P.                             )
                                      )
13                                    )
                 Defendant(s).        )
14

15           The Court, having considered the Parties’ Stipulation to Extend Stay of Proceedings, and

16   good cause having been shown, hereby orders as follows:

17       1. All proceedings and deadlines in this case shall be stayed through and including June 4,

18           2025 to allow the Parties to continue their settlement discussions.

19       2. If the settlement discussions result in a resolution, the Parties will promptly file an

20           appropriate dismissal with the Court.

21       3. If the settlement discussions are not successful, the Parties shall meet and confer to propose

22           a new schedule for the case and submit a joint proposed scheduling order to the Court

23           within ten (10) days following the expiration of the stay.

24   IT IS SO ORDERED.

25

26    Dated: __________________
                                                                     MAXINE M. CHESNEY
27                                                                  United States District Judge
28
      Stip. and Prop. Order to                                              Case No.: 3:23-cv-06522-MMC
      Ext. Stay of Proceedings
